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                                                                                                                                                                     UNITED	  STATES	  DISTRICT	  COURT	  
                                                                                                                                                                     FOR	  THE	  DISTRICT	  OF	  COLUMBIA	  
	  
	  
	  
       JAMES	  H.	  ROANE,	  JR.,	  et	  al.	                                                                                                                                                                                                                                                         )	  
                                                                                                                                                                                                                                                                                                            )	  
                                                                                                                 Plaintiffs,	                                                                                                                                                                              )	  
                                                                                                                                                                                                                                                                                                            )	  
                                                                                                                                                                  vs.	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  )	  	  	  Civil	  Action	  No.	  05-­‐2337	  
                                                                                                                                                                                                                                                                                               	  	  	   )	  
       ERIC	  H.	  HOLDER	  Jr.,	  et	  al.	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   )	  
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                                                                                                                      Defendants	                                                                                                                                                                          )	  
	  
	  
	  
                                                                                                                                                                  PARTIES’	  JOINT	  STATUS	  REPORT	  

	  
	                                   The	   Parties	   respectfully	   submit	   this	   Joint	   Status	   Report	   pursuant	   to	   the	   Court’s	   Order	   of	  

April	  8,	  2016.	  	  There	  has	  been	  no	  change	  in	  the	  status	  of	  this	  matter	  since	  the	  parties	  filed	  their	  

Joint	  Status	  Report	  on	  August	  1,	  2018	  (Docket	  No.	  377).	  	  The	  parties	  do	  not	  seek	  any	  action	  by	  

the	  Court	  at	  this	  time.	  

Dated:	  November	  1,	  2018	  

For	  the	  Plaintiffs:	        	            	    	                                                                                                                                                                  	                                  For	  the	  Defendants:	  
	  
	  
_______/s/__________	  
Paul	  F.	  Enzinna	  (D.C.	  Bar	  No.	  421819)	                                                                                                                                                                  	                                  CHANNING	  D.	  PHILLIPS	                 	  
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	           	             	     	        	      	           	         By:	  _______/s/__________	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                 Case 1:05-cv-02337-TSC-DAR Document 378 Filed 11/01/18 Page 5 of 5



                                                     CERTIFICATE	  OF	  SERVICE	  
                                                                           	  
           I	  certify	  that	  on	  November	  1,	  2018,	  a	  copy	  of	  the	  foregoing	  Parties’	  Joint	  Status	  Report	  
was	  filed	  using	  the	  CM/ECF	  system,	  which	  will	  then	  send	  notification	  of	  such	  filing	  to	  all	  counsel	  
of	  record.	  
                                                                           	  
                                                                    _______/s/___________	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                                                                    Ellerman	  Enzinna,	  PLLC	  
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                                                                    Counsel	  for	  Plaintiff	  James	  H.	  Roane,	  	  Jr.	  
